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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                             FOR THE NINTH CIRCUIT
                                                                     SEP 07 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 JASON WOLFORD; et al.,                        No. 23-16094

               Plaintiffs - Appellees,
                                               D.C. No. 1:23-cv-00265-LEK-WRP
   v.                                          U.S. District Court for Hawaii,
                                               Honolulu
 ANNE E. LOPEZ, in her official
 capacity as the Attorney General of the       ORDER
 State of Hawaii,

               Defendant - Appellant.



        The motion filed by the appellant on September 7, 2023 for voluntary

dismissal of this appeal is granted. This appeal is dismissed. See Fed. R. App. P.

42(b); 9th Cir. R. 27-9.1.

        This order shall constitute the mandate.



                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT
